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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



UNITED STATES OF AMERICA

                  v.                                 Case No. 1:19-cr-0125 (ABJ)

GREGORY B. CRAIG,

                       Defendant.


                            REPLY IN SUPPORT OF DEFENDANT’S
                            MOTION FOR BILL OF PARTICULARS

       The government chose to prosecute a concealment scheme under 18 U.S.C. § 1001(a)(1),

rather than a false statements case under § 1001(a)(2), and so the grand jury did not need to find

that any particular statement was false and material. But if Count One is to proceed (in whole or

in part) on the theory that it rests on affirmative false statements, then the government should be

required to specify exactly which statements are alleged to be false, and why. Mr. Craig’s

Motion for a Bill of Particulars (“Mot.”), ECF No. 17, does not seek “every detail of the

government’s evidence,” nor is it “simply an attack on the merits of the government’s case.”

Gov’t Opp’n to Def.’s Mot. for Bill of Particulars (“Opp’n”), ECF No. 24 at 1. Mr. Craig’s

motion makes a simple point: if the government truly believes this is a straightforward false

statements case, then it should be required to identify with precision what the alleged false

statements are.

                                     LEGAL STANDARD

       A bill of particulars “ensure[s] that the charges brought against a defendant are stated

with enough precision to allow the defendant . . . to prepare a defense.” United States v. Butler,

822 F.2d 1191, 1193 (D.C. Cir. 1987).        Mr. Craig’s argument is not based on a “special
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exception” for false statement cases, as the government contends, see Opp’n at 6, but on the

general principle that the type of offense charged matters in determining how much “precision”

is needed “to prepare a defense.” Butler, 822 F.2d at 1193.

       In a case charged under 18 U.S.C. § 1001 based on affirmative statements (and, again, we

assume for purposes of this Motion that this prosecution is based, at least in part, on affirmative

statements), the specific statements at issue are the heart of the case. Falsity and materiality are

essential elements of the offense, see, e.g., United States v. Pickett, 353 F.3d 62, 66–67 (D.C.

Cir. 2004), and a defendant cannot effectively defend against those elements – nor can a jury

evaluate them – without knowing exactly which statements are alleged to be false and material,

and why. That is why “[t]he government must provide information as to exactly what the false

statements are [and] what about them is false.” United States v. Trie, 21 F. Supp. 2d 7, 21–22

(D.D.C. 1998); accord United States v. Anderson, 441 F. Supp. 2d 15, 19 (D.D.C. 2006).

                                          ARGUMENT

       There are several deficiencies in the government’s Opposition. Paragraph 50.b alleges

that documents “drafted” by Mr. Craig constitute part of the “manner and means” of the charged

scheme offense. Mr. Craig is alleged to have “drafted” four different documents during the

period of the charged scheme, of which two – the documents referenced in Paragraphs 59 and 60

– were circulated only internally within Skadden. See Indictment ¶¶ 56, 59, 60, 62. In his

Motion, Mr. Craig requested that the government specify whether the two internal documents are

alleged to be part of the “manner and means” of the scheme. Mot. at 6. The government

responded by listing all four documents that Mr. Craig drafted, including the ones referenced in

Paragraphs 59 and 60. See Opp’n at 8–9. But elsewhere in its Opposition, the government states

that the internal drafts in Paragraphs 59 and 60 “themselves do not constitute crimes” and are



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merely “background” to the meeting with the FARA Unit that occurred on October 9, 2013. Id.

at 11. If the government stipulates that these internal communications – which were never sent

to the FARA Unit – cannot constitute elements of the charged offense, then the “manner and

means” allegation in Paragraph 50.b has been appropriately limited and clarified. Otherwise, a

bill of particulars is needed.

        As to Paragraph 56, which assembles an undifferentiated list of alleged “material false

and misleading statements and omissions” in Mr. Craig’s letter of June 3, 2013, Mr. Craig asked

that the government specify which alleged statement falls in which category. Mot. at 7–8. The

government’s response is that the distinction does not matter, because “its burden [is] to simply

plead that the Defendant made a materially false statement or omission to the FARA Unit.”

Opp’n at 10–11 (emphasis added). The government’s refusal to identify any alleged false

statements in Paragraph 56 only serves to underscore what Mr. Craig pointed out in his Motion

to Dismiss Count One: “To understand what the government believes is wrong with the listed

statements, one must read them in tandem with the omitted facts listed in Paragraph 63.” ECF

No. 19 at 12 (emphasis added). If this is to be a case about affirmative false statements, then the

government should be required to specify which statements are alleged to be false, and what

makes them false.

        As to Paragraph 61, Mr. Craig requested that the government specify exactly what he is

alleged to have said during the meeting on October 9, 2013 that was false and, if the alleged false

statement was in response to a question, the language of the question. Mot. at 8–11. Paragraph

61 alleges that Mr. Craig “claimed that his media contacts were solely reactive and for the

purpose of correcting misinformation,” and in its Opposition, the government states that

“witnesses can testify” that Mr. Craig made this “claim[]” during the meeting. Opp’n at 12. But



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the FBI 302s and grand jury transcripts provided in discovery reveal that no witness present at

the October 9 meeting recalls the “solely reactive” formulation exactly as it is alleged in the

Indictment. If the government intends to commit itself to that exact language with no witness to

back it up, then so be it; that will present an issue regarding “the sufficiency of the evidence at

trial,” as the government suggests. Opp’n at 11. But the government is apparently unwilling to

limit itself to any exact language because the only thing the witnesses can specifically remember

about the October 9 meeting is what was not said. See id. at 12 (suggesting that the Court

consult the list of ten omissions in Paragraph 63 “for additional context” on Mr. Craig’s alleged

“false and misleading statements and omissions” made during the October 9 meeting). The

government should be required to specify “exactly” what false statements Mr. Craig is alleged to

have made during that meeting. See Trie, 21 F. Supp. 2d at 21–22.

       With respect to Paragraph 65, Mr. Craig has moved separately to strike that allegation as

prejudicial “surplusage.” ECF No. 21. But Paragraph 65 also lacks specificity, alleging only

that, in an interview by the Special Counsel’s Office (SCO) four years after his meeting with the

FARA Unit, Mr. Craig “repeated certain of the false and misleading statements he had made to

the FARA Unit concerning the timing and nature [of] his contacts with journalists about the

Report.” Indictment ¶ 65 (emphasis added). In its Opposition, the government quotes two

passages from an FBI 302 from the SCO interview. Opp’n at 12–13. Assuming those are the

only alleged “false and misleading statements” from the SCO interview, the government has

provided the necessary particulars. If Paragraph 65 is not stricken and evidence of the SCO

interview is admitted at trial, the defense will demonstrate that the quoted portions of the FBI

302 do not reflect any false statement by Mr. Craig.




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         Finally, the government repeatedly emphasizes the voluminous discovery that it has

provided in this case. See Opp’n at 4 (“over one million pages of documents”); see also id. at 1,

5, 7, 11, 13–14. But “it is not sufficient for the government to respond to a motion for a bill of

particulars by pointing to the voluminous discovery already provided.”            United States v.

Bazezew, 783 F. Supp. 2d 160, 168 (D.D.C. 2011); accord Anderson, 441 F. Supp. 2d at 19; Trie,

21 F. Supp. 2d at 21 n.12.

         The government’s primary answer to these cases is to cite the D.C. Circuit’s statement

that a bill of particulars is not required “if the requested information is available in some other

form.”    Opp’n at 6–7 (quoting Butler, 822 F.2d at 1193).         But in Butler, the “requested

information” was not buried among millions of pages provided in discovery, but rather was

presented plainly in the government’s response to a motion for a bill of particulars, which

“furnished essentially the information that [the defendant] had requested.” 822 F.2d at 1194. In

that circumstance, and in light of the deferential standard of review for orders granting or

denying a bill of particulars, the Court of Appeals “c[ould] not say that the district court abused

its discretion.” Id. The situation is entirely different here where, if the Court denies the Motion

to Dismiss Count One on the theory that the Indictment alleges affirmative false statements, Mr.

Craig will be facing trial on a false statement theory despite the government’s failure to specify

with precision the false statements that he is alleged to have made.

         Almost all of the government’s other cases were conspiracy prosecutions in which a

defendant requested a bill of particulars identifying the alleged co-conspirators, listing all overt

acts involved, or providing other details of the conspiracy.1 These cases were governed by “the



1
  See United States v. Lorenzana-Cordon, 130 F. Supp. 3d 172, 178–79 & n.5 (D.D.C. 2015);
United States v. Savoy, 889 F. Supp. 2d 78, 114–16 (D.D.C. 2012); United States v. Sanford, 841
F. Supp. 2d 309, 314–15 (D.D.C. 2012); United States v. Martinez, 764 F. Supp. 2d 166, 173–74

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general rule in conspiracy cases . . . that the defendant is not entitled to obtain detailed

information about the conspiracy in a bill of particulars.” Sanford, 841 F. Supp. 2d at 317.

       The government’s only case involving false statements—United States v. Han, 280 F.

Supp. 3d 144 (D.D.C. 2017)—is also not on point. The defendant in Han was charged with

making false statements as part of a securities fraud offense, and the indictment both specifically

identified the content of the alleged false representations and explained what made them false.

See United States v. Han, Case No. 15-cr-00142-JEB, Superseding Indictment, ECF No. 32,

¶¶ 11–14. The defendant was alleged to have made those same false representations in many

different communications to investors, and he requested a bill of particulars to clarify which

communications were at issue. United States v. Han, Mot. for Bill of Particulars, ECF No. 39, at

10. Given that complaint, the government was able to clear up any ambiguity by pointing to

specific documents that it had highlighted during a reverse proffer session, in a statement of

offense in support of a proposed plea agreement, and in the response to the motion for a bill of

particulars. United States v. Han, Gov’t Opp’n to Mot. for Bill of Particulars, ECF No. 52, at 9–

16; see also Han, 380 F. Supp. 3d at 149. Here, the problem with the Indictment is not that it

fails to state which documents are at issue, but rather that it fails to specify what statements are

alleged to be false, and why.




(D.D.C. 2011); United States v. Brodie, 326 F. Supp. 2d 83, 91–92 (D.D.C. 2004); United States
v. Ramirez, 54 F. Supp. 2d 25, 29–31 (D.D.C. 1999).

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                                         CONCLUSION

       The government complains that identifying specific alleged false statements will “only

serve[] to limit the government’s proof at trial to the facts included in the bill of particulars.”

Opp’n at 7; see also id. at 13 (arguing that Mr. Craig “seeks . . . to tie the government’s hands at

trial in terms of its presentation of evidence”). Respectfully, that is the point of a bill of

particulars. If the government truly believes it has properly alleged a straightforward false

statements case (notwithstanding the fact that the grand jury did not return a charge under 18

U.S.C. § 1001(a)(2)), then it should not be afraid to put its cards on the table. Mr. Craig seeks an

order requiring the government to produce a bill of particulars specifying the statements that are

alleged to be false, consistent with the information sought in Mr. Craig’s Motion.

Dated: May 21, 2019                                  Respectfully submitted,


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                               CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on May 21, 2019, the foregoing Defendant’s Motion for a Bill

of Particulars was served on counsel of record via the Court’s CM/ECF service.


                                                      /s/ Ezra B. Marcus
                                                   Ezra B. Marcus




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